                       Case 4:14-cr-00114-DPM                   Document 693               Filed 08/22/16          Page 1 of 7
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                                                                                                                          FILED
                                                                                                                       U.S. DISTRICT COURT
                     Sheet 1                                                                                       EASTERN DISTRICT ARKANSAS




                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                      Thomas Roger Winford                                 )
                                                                           )      Case Number: 4:14-cr-114-DPM-21
                                                                           )      USMNurnber: 28807-009
                                                                           )
                                                                           )       Mark Alan Jesse
                                                                           )      Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         1 of the Superseding Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on coun.t(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 21 U.S.C. §§ 846 &                Conspiracy to Possess with Intent to Distribute and to

     841(a)(1) & (b)(1)(C)         Distribute Methamphetamine, a Class C Felony                              11/30/2013                   1



       The defendant is sentenced as provided in pages 2 through          __7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
OCount(s)      ~~~~~~~~~~~-
                                                        D is       Dare dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 <lays of any chan~e of name, residence,
or mail.in£ address Wltil all fines, restitution, costs, and special assessments imposed ey this judgment are fully paid: Ifordered to pay restitution,
the defenaant must notify the court and United States altomey of material clianges in economic circumstances.
                                                                          8/18/2016
                                                                         Date ofirnposition of Judgment




                                                                          D.P. Marshall Jr.                         United States District Judge
                                                                         Name and Title ofJudge



                                                                         Date
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AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2-Imprisonrnent
                                                                                                    Judgment- Page      2   of   7
 DEFENDANT: Thomas Roger Winford
 CASE NillvfBER: 4:14-cr-114-DPM-21

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:
    31 months, with credit for time served in federal custody as calculated by the Bureau of Prisons. (Continued on next page.)




      Ill The court makes the following recommendations to the Bureau of Prisons:

    1) that Winford participate in a residential drug abuse program, or non-residential programs if he does not qualify for RDAP;
    2) that Winford participate in educational and vocational programs during incarceration; and
    3) designation to SPC Millington to facilitate participation in vocational programs tailored to older Inmates.

      Ill The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D at                                               D p.m.       on
          D as notified by the United States Marshal

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

a   ~~~~~~~~~~~~~~-
                                                  , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL
                      Case 4:14-cr-00114-DPM        Document 693         Filed 08/22/16      Page 3 of 7
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 2A- Imprisonment
                                                                                        Judgment-Page         of _ _ __
DEFENDANT: Thomas Roger Winford
CASE NUMBER: 4:14-cr-114-DPM-21

                                           ADDITIONAL IMPRISONMENT TERMS
   (Continued from previous page.) The 31-month sentence is a 26-month downward departure under USSG § 5K2.23.
   Winford served 26 months in Navajo County Superior Court Case No. S-0900-CR-201300840 (PSR 1) 71) for a crime that
   is relevant conduct to his federal offense. If this state sentence were undischarged, Winford would be eligible for an
   adjustment under USSG § 5G1 .3(b). Instead, Winford's state sentence is fully discharged. And because that time has
   was credited to the state sentence, the relevant statute won't allow the Bureau to credit It toward Winford's federal
   sentence. This 26-month departure is therefore necessary to achieve a reasonable punishment for this offense and avoid
   unwarranted disparities between similarly situated co-defendants in the time actually served.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                           Judgment-Page       4     0
                                                                                                                                         f     7
                                                                                                                                             ----
DEFENDANT: Thomas Roger Winford
CASE NUMBER: 4:14-cr-114-DPM-21
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
2 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ff applicable.)
         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check. tfapplicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
0        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. {Check, if applicable.)

0        The defendant shall participate in an approved program for domestic violence. {Check, if applicable.)
        If this judgment im~ses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITTONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;                                                                    .
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    1he defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any eersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so bY the probation officer;
 10)      the defendant shall P.ermit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          pennission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or Eersonal history or characteristics and shall peimit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3C - Supervised Release
                                                                                         Judgment-Page   ---"5'--- of ----'7'----
DEFENDANT: Thomas Roger Winford
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                                          SPECIAL CONDITIONS OF SUPERVISION
 S1) Winford must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, recovery meetings, or some combination of those options.
                        Case 4:14-cr-00114-DPM                  Document 693               Filed 08/22/16        Page 6 of 7
AO 24SB (Rev. 10/15) Judgment in a Criminal Case
          Sheet S- Criminal Monetary Penalties
                                                                                                      Judgment-Page --"'6- of           7
 DEFENDANT: Thomas Roger Winford
 CASE NUMBER: 4:14-cr-114-DPM-21
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                        Fine                                Restitution
 TOTALS             $   100.00                                        $    0.00                           $    0.00


 D The detennination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

D The defendant must make restitution (.including community restitution) to the following payees in the amount listed below.
      Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless s~cified otherwise in
      the priorit}: order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                                             Total Loss*        Restitution Ordered Priority or Percentage




TOTALS                                                                       $                     0.00
                                                                                 ~~------~




D     Restitution amount ordered pursuant to plea agreement $
                                                                      -----~---

D     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      D the interest requirement is waived for the           D tine       D restitution.
      D the interest requirement for the            D fine    D restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters I 09A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments
                                                                                                                  Judgment-Page                of
DEFENDANT: Thomas Roger Winford
CASE NUMBER: 4:14-cr·114·DPM-21

                                                         SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      IZI    Lump sum payment of$        100.00
                                          ------ due immediately, balance due

              D     not later than               , or
                                   --------~
              QI    in accordance    D C, D D, O E, or                            It! F below; or
B     O Payment to begin immediately (may be combined with                     O C,         D D, or       D F below); or
C     D Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
             _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or        ·

E     D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
              imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     '2J Special instructions regarding the payment of criminal monetary penalties:
               If Winford can't pay the special assessment immediately, then during incarceration he must pay 50 percent per
               month of all funds available to him until the assessment is paid in full.




Unless the court has expressly ordered otherwise, ifthis jucbnnent imposes imprisonment, payment ofcriminalmone!!ey penalties is due during
imprisonment All crnninal monetary ~nalties, except Those payments made througfi the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerl<: of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (fncluding defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:.




Pa~ents shall be ~plied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
